
GakRett, Chief Judge,
specially concurring.
I am in agreement with the reasoning and the conclusion in this case, but feel constrained to concur specially in order to comment upon the status of the MacDonald patent as a reference.
In its discussion rejecting claim 17 the Board of Appeals said:
* * * In our opinion it is not necessary to rely on MacDonald since the sáme thought is present by implication in Elliott as above pointed out.
*1206The foregoing is the only allusion made by the board to the MacDonald patent and, frankly, it seems doubtful whether or not the board intended to overrule it as a reference. It is regrettable that the board did not make its position clear upon that point, because under the statutory provision relative to appeals to this court we would have no right to consider it if the board rejected it.
It so happens that in this particular case the matter is not vitally important, but we have had a number of cases in which the expression of the Board of Appeals has left us uncertain as to just what it was intended to hold. It is thought that when the board regards a reference cited by the examiner as inapplicable it should take the responsibility of saying so in plain and unequivocal terms.
